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                                       UNITED STATES DISTRICT COURT

                                            DISTRICT OF OREGON

                                             MEDFORD DIVISION


         UNITED STATES OF AMERICA                             1:19-cr-O(} J..;G1/-IAC,

                        v.                                    INDICTMENT

         _GREGORY LEE R0DVELT,                                18 U.S.C. §§ lll(a)(l)_and (b);
                                                              18 U.S.C. §§ 924(c)(l)(A)(i), (iii), and
                        Defendant.                            (c)(l)(B)(ii);
                                                              26 U.S.C. §§ 5841, 5861(d) and 5871

                                                              Forfeiture Allegation
                                                              18 U.S.C. § 924(d)
                                                              28 U.S.C § 2461(c)

                                        THE GRAND JURY CHARGES:

                                                    COUNTl
                                          (Assault on a Federal Officer)
                                         (18 U.S.C. §§ lll(a)(l) and (b))

                On or about September 7, 2018, in the District of Oregon, defendant GREGORY LEE

         R0DVELTdid forcibly assault AV, a federal agent who was then engaged in the performance

         of his official duties, and in the commission of such offense, did use a deadly or dangerous

         weapon, that is, a firearm;

                In violation of Title 18, United States Code, Sections 11 l(a)(l) and (b).

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                                                  COUNT2
               (Using and Discharging a Firearm During and in relation to a Crime of Violence)
                              (18 U.S.C. §§ 924(c)(l)(A)(i), (iii), and (c)(l)(B)(ii))

                 On or about September 7, 2018, in the District of Oregon, defendant GREGORY LEE

        RODVELT did knowingly and unlawfully use and discharge a firearm, to wit: a destructive

        device during and in relation to a crime of violence for which he may be prosecuted in a court of

        the United States, to wit: Assault on a Federal Officer as charged in Count 1 of this Indictment;

                 In violation of Title 18, United States Code, Sections 924(c)(l)(A)(i), (iii), and

        ( c)(1 )(B)(ii).

                                                   COUNT3
                                  (Unlawful Possession of a Destructive Device)
                                     (26 U.S.C. §§ 5841, 5861(d) and 5871)

                 On or between August 17, 2018 and September 7, 2018, in the District of Oregon,

        defendant GREGORY LEE RODVELT did knowingly and unlawfully possess a firearm, to

        wit: a destructive device, not registered to him in the National Firearms Registration and

        .Transfer Record;

                 In violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.

                                          FORFEITURE ALLEGATION

                 Upon conviction of the offenses in Counts 1 through 3, defendant shall forfeit to the

        United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the firearm involved in

        those offenses.

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        Indictment                                                                                    Page2
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Dated: October 2, 2019.


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                                                    'Isl Grarrrl Jury Foreperson
                                                OFFICIATING FOREPERSON

Presented by:

BILLY J. WILLIAMS
United States Attorney



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Assistant United States Attorney



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Assistant United States Attorney




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